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                    WIN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

JOE ANDREW SALAZAR,

             Plaintiff,
                                         Civil Action No. 2:16-cv-01096-JRG-RSP
       v.
                                               JURY TRIAL DEMANDED
HTC CORPORATION,                                   PATENT CASE

             Defendant.



     HTC CORPORATION’S MOTION DISMISS ITS COUNTERCLAIM FOR
 INVALIDITY WITHOUT PREJUDICE OR IN THE ALTERNATIVE, MOTION FOR
 JUDGMENT AS A MATTER OF LAW PURSUANT TO FEDERAL RULE OF CIVIL
                        PROCEDURE 50(b)

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ATTORNEYS FOR DEFENDANT
HTC CORPORATION
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        Defendant HTC Corporation (“HTC Corp.”) hereby moves the Court to either (1) dismiss

HTC Corp.’s counterclaim for invalidity without prejudice, or (2) enter judgment that the asserted

claims of U.S. Patent No. 5,802,467 (“’467 Patent”) are invalid, as a matter of law, under Federal

Rule of Civil Procedure 50(b). As shown below, HTC Corp. presented clear and convincing

evidence at trial that all asserted claims of the ’467 patent are invalid, and Plaintiff Joe Andrew

Salazar (“Mr. Salazar”) failed to present any evidence from which a reasonable jury could

conclude otherwise.

I.      HTC Corp.’s Counterclaim for Invalidity Should Be Dismissed Without Prejudice.

     As the Court is aware, the jury returned its verdict by answering only question 1 (on

infringement) and failing to answer question 2 (on invalidity). When presented with the jury

verdict, the Court held a discussion with counsel during which HTC Corp. agreed to accept the

verdict with only question 1 answered. That action was fully within the Court’s discretion. See

Baxter Healthcare Corp. v. Spectramed, Inc., 49 F.3d 1575, 1581 (Fed. Cir. 1995) (“the trial judge

could enter judgment on the basis of the unanimous verdicts if they are dispositive of the case.”)

The jury’s finding of no infringement was otherwise case-dispositive, and therefore the Court had

discretion to accept the verdict without the need for an answer to question 2.

     HTC Corp. respectfully submits that additional action is, however, needed on its live

counterclaim for invalidity. Because HTC Corp. pleaded and proved the counterclaim but it was

not decided by the jury, the claim should be resolved at this time. HTC Corp. respectfully submits

that the counterclaim for invalidity should be dismissed without prejudice because it has not been

adjudicated.

     The Court has previously faced a similar circumstance in Flexuspine, Inc. v. Globus Medical,

Inc., Case No. 6:15-cv-201. There, Globus had pleaded a counterclaim for invalidity, which was

submitted to the jury. The jury returned a verdict of no infringement but did not reach the question
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of invalidity because the verdict form specifically instructed the jury not to answer the question on

invalidity if the jury had found no infringement. The Court found that, because the verdict form

specifically instructed the jury to stop answering the form’s interrogatories if the jury found no

infringement (and because no objection to the form was made), Globus had waived its right to

present the invalidity counterclaim to the jury and instead had presented invalidity as an

affirmative defense. The Court therefore dismissed Globus’ invalidity counterclaim without

prejudice and rendered Globus’s Rule 50 motions moot. The Federal Circuit affirmed the Court’s

decision. See Flexuspine, Inc. v. Globus Medical, Inc., 879 F.3d 1369 (Fed. Cir. 2018).

   In the instant case, the verdict form submitted to the jury did not instruct the jury to stop if it

found no infringement.       Instead, the jury was instructed to answer both question 1 (on

infringement) and question 2 (on invalidity). After those two questions, the verdict form instructed

the jury to not answer any further questions if it answered the question on infringement with a

“NO.” Given the verdict form and record here, HTC Corp. has not waived its counterclaim for

invalidity and the counterclaim is still live before the Court.

   Despite the differences between Flexuspine v. Globus Medical and the instant case, the

outcome should be similar. Having accepted the jury’s verdict on infringement, the Court should

now dismiss HTC Corp.’s invalidity counterclaim without prejudice. In the alternative, if the

Court finds its cannot dismiss HTC Corp.’s counterclaim for invalidity, HTC Corp. requests that

the counterclaim for invalidity be severed and stayed pending resolution of the ongoing inter

partes review filed by HTC Corp. against the ’467 patent and any appeal of this case that Mr.

Salazar may pursue.




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 II.   If the Court Does Not Dismiss or Sever and Stay HTC Corp.’s Counterclaim for
       Invalidity, Then Judgment as a Matter of Law Should Be Entered in Favor of HTC
       Corp. on the Issue of Invalidity.

       Judgment as a matter of law is appropriate “[i]f a party has been fully heard on an issue

during a jury trial and the court finds that a reasonable jury would not have a legally sufficient

evidentiary basis to find for the party on that issue.” Fed. R. Civ. P. 50(a)(1); see James v. Harris

County, 577 F.3d 612, 617 (5th Cir. 2009); see also Old Town Canoe Co. v. Confluence Holdings

Corp., 448 F.3d 1309, 1314 (Fed. Cir. 2006). To avoid judgment as a matter of law, the non-

moving party must introduce “substantial evidence” to support each legal element of the non-

movant’s claims. See Goodner v. Hyundai Motor Co., Ltd., 650 F.3d 1034, 1040 (5th Cir. 2011).

“Substantial evidence” is “more than a mere scintilla. It means such relevant evidence as a

reasonable mind might accept as adequate to support a conclusion.” Eli Lilly & Co. v. Aradigm

Corp., 376 F.3d 1352, 1363 (Fed. Cir. 2004) (quoting Consol. Edison Co. v. NLRB, 305 U.S. 197,

229 (1938)).

       HTC Corp. moves under FRCP 50(b) for judgment, as a matter of law, that claims 1-7, 27-

30 and 34 of the ’467 patent (the “Asserted Claims”) are invalid. A claim is “invalid as anticipated

where each and every element is found within a single prior art reference, arranged as claimed.”

Summit 6, LLC v. Samsung Elecs. Co., Ltd., 802 F.3d 1283, 1294 (Fed. Cir. 2015). A claim is also

invalid if it would have been obvious to a person of ordinary skill in the art at the time the invention

was made, in view of the scope and content of the prior art, and the differences between the prior

art and the claimed invention. Graham v. John Deere, 383 U.S. 1 at 17 (1966). Further, while it

is true that “[a] defendant bears “the initial burden of going forward with evidence to support its

invalidity allegation,” once the defendant has satisfied its burden “the burden of going forward

shifts to the patentee to present contrary evidence and argument.” Id. Core Wireless Licensing

S.A.R.L. v. LG Elecs., Inc., 880 F.3d 1356, 1364 (Fed. Cir. Jan. 25, 2018). When a party bears a
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burden of proof, the evidence to support the granting of the motion must be overwhelming. Grey

v. First Nat’l Bank of Dallas, 393 F.2d 371, 380 (5th Cir. 1968). The evidence on invalidity here

is overwhelming.

       Dr. Wolfe provided detailed explanations of his opinions that Claims 1-7, 29-30, and 34

were anticipated in view of U.S. Patent 5,410,326 to Goldstein, and that Claims 27-28 were

obvious in view of Goldstein and the knowledge of a person of ordinary skill in the art. Over the

course of his direct examination, Dr. Wolfe gave detailed explanations and citations for where

each limitation of the Asserted Claims is found in the Goldstein reference. See Trial Tr. at 15:20-

26:11, 44:13-17, 68:1-69:14, 70:19-72:20, 73:3-75:21, 77:4-77:11, 78:3-79:20, 79:22-82:10,

82:21-24, 83:5-88:4, 91:23-93:25 (claim 1); 26:12-36:22, 44:18-25, 65:18-67:25 (claims 2-7);

36:23-38:21, 39:11-40:22, 44:18-25, 56:1-65:12 (claims 27-28); 41:2-43:13, 49:2-50:11, 51:11-

55:16 (claims 29-30); and 43:15-44:5 (claim 34) (all citations from May 9, 2018 PM). For each

claim term that does not appear verbatim in the Goldstein reference, Dr. Wolfe explained that a

person of ordinary skill would recognize Goldstein as anticipating each and every claim of the

’467 Patent, even if slightly different words were used. See id; see also In re Gleave, 560 F.3d

1331, 1334 (Fed. Cir. 2009) (prior art reference need not use the same terminology to anticipate).

For Claims 27 and 28, Dr. Wolfe explained how a person of ordinary skill would find them obvious

in view of Goldstein and the ordinary understanding of one of skill in the art. See Trial Tr. 36:23-

38:21, 39:11-40:22, 44:18-25, 56:1-65:12 (May 9, 2018 PM).

       None of Dr. Wolfe’s opinions nor the evidence he presented were contradicted with

substantial evidence by Mr. Salazar. In fact, Mr. Salazar’s rebuttal witness on invalidity, Dr.

Gottesman, did not present the jury with any credible evidence from which a reasonable juror

could conclude that the Asserted Claims were valid. Indeed Dr. Gottesman presented the jury with



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nothing but bare conclusions. For claims 1-7, 27-28 and 34, Dr. Gottesman conceded that all of

the elements were satisfied with the exception of the preamble and the memory device element.

See See Trial Tr. at 31:3-11 (claim 1); 24:8-20 (claims 2-7 and 27-28); and 31:19-32:15 (claim 34)

(all citations May 10, 2018). For the preamble, however, Dr. Gottesman’s only testimony was his

unsupported conclusion that Goldstein does not have “a communications, command, control and

sensing system.” See Trial Tr. 20:5-18 (May 10, 2018) (“A. In my opinion, Goldstein does not

disclose the preamble, a communications, command, control and sensing system for

communicating with a plurality of external devices.”). Dr. Gottesman provided no explanation for

this conclusory statement and presented no evidence in support of it. As such, his testimony cannot

support a jury’s finding of validity because it does not qualify as “substantial evidence” sufficient

to defeat judgment as a matter of law. See Iovate Health Sciences, Inc. v. Bio-Engineered

Supplements & Nutrition, Inc., 586 F.3d 1376, 1381-82 (Fed. Cir. 2009) (applying Fifth Circuit

law).

        Dr. Gottesman’s opinions on the “memory device” element were likewise wholly

conclusory, without any support or evidence. See Trial Tr. at 20:15-22:21 (May 10, 2018). He

did not provide a single citation to the Goldstein reference. He did not provide any explanation of

or for his conclusion. He merely stated, without support, that the elements do not exist in

Goldstein. As discussed above, these conclusory opinions cannot support a denial of judgment as

a matter of law. For claims 2-7, 27-28 and claim 34, Dr. Gottesman testified that the claims were

valid on the same conclusory basis he gave for claim 1. See Trial Tr. at 26:12-36:22, 44:18-25,

65:18-67:25 (claims 2-7); 36:23-38:21, 39:11-40:22, 44:18-25, 56:1-65:12 (claims 27-28); and

43:15-44:5 (claim 34) (all citations from May 9, 2018 PM).




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       For claims 29-30, Dr. Gottesman testified that the claims were not anticipated by Goldstein

for the additional reason that Goldstein did not teach a “sensor” as claimed. But Dr. Gottesman

conceded that Goldstein teaches a device containing a touch-sensitive display screen such that the

device would respond when the user presses the screen. See Trial Tr. at 33:22-25 and 34:1-7 (May

10, 2018). In contrast to Dr. Gottesman, Dr. Wolfe provided more than mere conclusions: he

provided substantive explanations of the touch-sensitive screen in Goldstein and explained how

its disclosure and operation invalidates the claims. See Trial Tr. at 41:2-43:13, 49:2-50:11, 51:11-

55:16 (May 10, 2018).

       Given the testimony and evidence provided by Dr. Wolfe and the complete failure of Mr.

Salazar to present anything other than mere expert conclusions, no reasonable juror could find that

the Asserted Claims are valid. HTC therefore respectfully requests judgment as a matter of law

that Claims 1-7, 29-30, and 34 are invalid as anticipated under § 102, and that Claims 27-28 are

invalid as obvious under § 103.

III.   Conclusion

       For these reasons, HTC Corp. respectfully requests that the Court either dismiss the

counterclaim for invalidity without prejudice, sever and stay the counterclaim pending resolution

of HTC Corp.’s IPR and any appeal of this case by Mr. Salazar, or—in the alternative—grant

HTC’s motion for judgment as a matter of law that Claims 1-7, 29-30, and 34 are invalid as

anticipated, and Claims 27-28 are invalid as obvious.




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Dated: June 8, 2018                       Respectfully submitted by,

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that all counsel of record who have deemed to have consented
to electronic service are being served on June 8, 2018, with a copy of the foregoing document via
the Court’s CM/ECF system pursuant to Local Rule CV-5(a)(3).


                                                    /s/ Fred I. Williams
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